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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 UNITED STATES OF AMERICA

       v.                                       CASE NO. 8:98-cr-302-SCB-TGW

 ANDRE PEASE

 UNITED STATES’ MOTION FOR EXTENSION OF TIME TO RESPOND TO
      ANDRE PEASE’S MOTION FOR REDUCTION OF SENTENCE

       The United States respectfully requests a thirty day extension of time, through

 and including September 3, 2022, within which to file its response to Andre Pease’s

 motion for a reduction of his sentence. (Doc. 603). As of the time of filing, a

 response is due on August 4, 2022. Because of responsibilities in this case and in

 other cases, and the type of claims asserted by Mr. Pease, the government requires

 additional time to assemble the relevant information and evidence, obtain the

 position of the Bureau of Prisons, and thereby provide the Court with a meaningful

 and useful response. Therefore, the United States respectfully requests an extension

 of time, through and including September 3, 2022, within which to file its response to

 Mr. Pease’s motion.

                                         Respectfully submitted,

                                         ROGER B. HANDBERG
                                         United States Attorney

                                  By:    _______________________
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 U.S. v. Andre Pease                            Case No. 8:98-cr-302-SCB-TGW


                           CERTIFICATE OF SERVICE

       I hereby certify that on August 4, 2022, a true and correct copy of the

 foregoing document and the notice of electronic filing were sent by United States

 Mail to the following non-CM/ECF participant(s):

       Andre Pease
       Reg. No. 22827-018
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       Federal Correctional Institution
       Inmate Mail/Parcels
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       Coleman, FL 33521



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